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                                                        EXHIBIT C
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

________________________
DAVID RYAN, ET ALS,

                  Plaintiffs                       Case No. 1:09-cv-10653
       v.

SEARS, ROEBUCK and CO. and
ACME ELECTRIC CORPORATION

                  Defendants.
____________________________________




                 PLAINTIFFS’ RE - NOTICE OF TAKING DEPOSITION
                    OF DEFENDANT, SEARS ROEBUCK AND CO.,
                        PURSUANT TO FRCP RULE 30(b)(6)


To:         Brooks L. Glahn, Esq.
            Adler, Cohen, Harvey, Wakeman and Guekguezian
            75 Federal Street
            Boston, MA 02110

            PLEASE TAKE NOTICE that at 11 a.m. on WEDNESDAY, JANUARY 27,
2010, at Adler, Cohen, Harvey, Wakeman, and Guekguezian, LLP, Boston,
Massachusetts, the plaintiffs by their attorney will take the deposition upon oral
examination of the person or persons designated by the defendant, Sears Roebuck and
Company (hereinafter “Sears”) pursuant to Rule 30(b)(6) of the Federal Rules of Civil
Procedure as most knowledgeable to testify on the matters set forth in the attached
Schedule A. The deponent is further required to bring to the deposition all documents
specified in the attached Schedule B, which were originally requested more than thirty
days in advance of the deposition date in a Request for Production of Documents. Said
deposition will be taken before a Notary Public or another person authorized to
administer oaths in the Commonwealth of Massachusetts.
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Plaintiffs,

By their Attorney,


________________________
John F. Finnerty, Jr.
BBO #166540
Finnerty Law Offices
56 Bayberry Way
Osterville, MA 02655
Telephone: 508-428-1234
Fax: 508-428-0660


                           CERTIFICATE OF SERVICE

I hereby certify that a true copy of the within document was served upon Brooks L.
Glahn, Esq. by mail on ____, 2010.


                             ________________________
                             John F. Finnerty, Jr.
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                                SCHEDULE A

1.    The design, specifications, manufacture, distribution, marketing, supplying
      and sale of the “SEARS 10/2 amp 12 Volt Automatic Battery Charger”
      bearing model/serial numbers 608.71857 and A-128299 depicted in the
      photographs attached hereto as Exhibits I and II (hereinafter “the subject
      battery charger”).

2.    The significance of the following numbers and words appearing on white
      stickers on the bottom of the subject battery charger:

      a. “E1A-413
          8196”

      b. “FINAL TESTED
         413”

3.    Any agreements or contracts between Sears and a third party pursuant to
      which the subject battery charger was manufactured.

4.    Any and all testing of the subject battery charger model by the defendant or on
      its behalf at any time.

5.    Any and all changes in the design or specifications of the subject battery
      charger model during the period of time it was sold by Sears including the
      date of each such change, the reasons for adopting each such change, and
      whether the subject battery charger model was previously or subsequently
      sold under any different model number and/or serial number.

6.    The inclusive dates of Sears’ distribution and sale of the subject battery
      charger model including the number distributed and sold during each year.

7.    a) Sears’ decision to distribute and sell the subject battery charger model;

      b) Sears’ decision to cease distribution and sale of the subject battery charger
         model.

8.    The existence of technology not incorporated into said battery charger model
      that would have made it less likely to emit sparks during use.

9.    The existence of other battery chargers available for sale on the retail market
      at the time Sears was selling the subject battery charger model that were less
      likely to emit sparks during use.

10.   Any and all safety features incorporated into the design of the subject battery
      charger model.
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11.   Any and all safety features not incorporated into the design of the subject
      battery charger model.

12.   Sears distribution and/or sale of a battery charger model incorporating a spark
      protection system.

13.   Any and all patents under which Sears has distributed and/or sold a battery
      charger model incorporating a spark protection system.

14.   The reasons Sears decided to cease distributing and/or selling the subject
      battery charger model.

15.   a) The battery charger model that replaced the subject battery charger model
         in Sears’ product line;

      b) The date of said replacement;

      c) The reasons for said replacement.

16.   Any and all recalls of battery chargers distributed and/or sold by Sears at any
      time specifically including all reasons for each such recall, the model numbers
      involved in each such recall, and the number of batteries involved in each
      such recall.

17.   Any and all consumer complaints and/or claims received by Sears prior to
      November 13, 2006 in connection with fires and/or explosions allegedly
      caused by battery chargers distributed and/or sold by Sears specifically
      including but not limited to complaints relative to the subject battery charger
      model.

18.   Any and all safety improvements to the design of the subject battery charger
      model subsequent to its initial sale and/or distribution by Sears specifically
      including but not limited to improvements to prevent and/or to protect from
      sparking.

19.   Each component part of the subject battery charger model and the cost to
      Sears of each component part of the subject battery charger model specifically
      including but not limited to the metal clips used to attach the charger to the
      battery posts.

20.   The design and specifications of said battery charger clips.

21.   The manufacturer of said battery charger clips.

22.   The supplier of said battery charger clips.
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23.   What other battery charger clip designs were considered.

24.   The cost differences between the battery clip design used and other clip
      designs.

25.   The environments in which the subject battery charger was designed to be
      used including garages.

26.    The types of failure modes noticed regarding the clips on the subject battery
      charger.

27.   The design useful life of the subject battery charger.

28.   The design useful life of the subject battery charger clips.

29.   The considerations given to the material of the subject battery charger clips.

30.   Warnings provided with the subject battery charger about the environment in
      which it is used.

31.   The recommended procedure for using the subject battery charger.

32.   The batteries with which the subject battery charger is to be appropriately
      used.

33.   The subject battery charger’s rate of charging over time.

34.   Claims against the defendant arising out of battery explosions and/or fires.

35.   The manner in which the subject battery charger mitigates the production of
      hydrogen from lead-acid batteries at the end of the charging cycle.

36.   The materials out of which said battery charger clips were manufactured.

37.   a) The owners’ manual, instruction manual, and any other instruction or
         warnings documentation or labeling accompanying the subject battery
         charger model at the time of distribution and/or sale;

      b) Any and all revisions to said documentation at any time.

38.   The advertising of the subject battery charger model specifically including but
      not limited to print advertising and internet advertising.

25.    Documents referencing features of the subject battery charger model
      specifically including but not limited to reports, correspondence, memoranda,
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      notices, intra-company communications, e-mails, warnings, safety concerns
      including concerns about sparking, and safety recommendations including
      recommendations to prevent or protect against sparking.

39.   Hazards or risks in the use of the subject battery charger model specifically
      including reports, correspondence, memoranda, notices, intra- company
      communications, e-mails, warnings, alerts, and recalls.

40.   Sears’ quality assurance procedures, protocols and standards relating to the
      subject battery charger model.

41.   Contractual agreements between Sears and any other company relating to the
      design, manufacture, or sale of the subject battery charger model.

42.   Complaints or allegations at any time that the subject battery charger model
      caught fire or caused a fire.

43.   Testing or hazard analysis conducted to determine the subject battery charger
      model’s propensity to spark or cause a fire.

44.   Documents referencing features of the subject battery charger model
      specifically including reports, correspondence, memoranda, notices, intra-
      company communications, emails, warnings, and safety recommendations.

45.   Hazards and/or risks in the use of the subject battery charger model,
      specifically including reports, correspondence, memoranda, notices, intra-
      company communications, emails, warnings, alerts, and recalls.

46.   Advertising copy used in print advertising and/or internet advertising prior to
      November 12, 2006 in connection with the defendant’s marketing and/or
      promotion of battery chargers incorporating a spark protection system.

47.   Advertising copy used in print advertising and/or internet advertising on and
      after November 12, 2006 in connection with the defendant’s marketing and/or
      promotion of battery chargers incorporating a spark protection system.

48.   Any and all warranties in connection with the subject battery charger.

49.   Sears’ quality assurance procedures, protocols, and standards relating to the
      subject battery charger model.

50.   The expected uses of the subject battery charger model.

51.   The expected useful life of the subject battery charger model.
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52.   Complaints or allegations by anyone at any time that the subject battery
      charger model caused a fire.

53.   Complaints or allegations by anyone at any time that any other battery charger
      model sold by the defendant caused a fire.

54.   Any testing or hazard analysis conducted to determine the propensity of the
      subject battery charger model to emit sparks.

55.   Any testing or hazard analysis conducted to determine the propensity of any
      other battery charger sold by Sears to emit sparks
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                                 SCHEDULE B

1.   All documents in connection with the battery charger which the plaintiff
     claims caused his injuries, to wit, the battery charger bearing model/serial
     numbers 608.718571 and A-128299 appearing in the photographs attached
     hereto as Exhibits A and B (hereinafter “the subject battery charger”)
     specifically including but not limited to the following:


a.   All documents in connections with its design and specifications including
     design drawings;
b.   All documents in connection with its manufacture;
c.   All documents in connection with its marketing including print and internet
     advertisements;
d.   All documents in connection with its distribution and supplying;
e.   All documents in connection with its sale specifically including invoices and
     bills of sale;
f.   All documents in connection with instructions as to its use including
     instruction manuals and owner’s manuals;
g.   All documents in connection with warnings as to its use;
h.   All documents in connection with its warranties;
i.   All documents in connection with any patents under which it was
     manufactured including patent applications, grants of patents, and
     correspondence with government agencies;
j.   All documents in connection with its testing.
2.   All agreements and/or contracts between the defendant and any third parties
     with respect to the manufacture of the subject battery charger model.

3.   All photographs of the subject battery charger model specifically including
     but not limited to photographs used in print and/or internet advertising.

4.   All advertising copy in connection with the subject battery charger model
     used in print advertising and/or internet advertising.

5.   All documents referencing features of the subject battery charger model
     specifically including reports, correspondence, memoranda, notices, intra-
     company communications, emails, warnings, and safety recommendations.
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6.    All documents in connection with hazards and/or risks in the use of the
      subject battery charger model specifically including reports, correspondence,
      memoranda, notices, intra-company communications, emails, warnings, alerts,
      and recalls.

7.    All documents in connection with changes in the design of the subject battery
      charger model after its initial sale to the general public so as to incorporate
      any safety features not present in the subject battery charger unit involved in
      the plaintiff’s accident specifically including correspondence, memoranda,
      reports, warnings, notices, intra-company communications, emails, patent
      applications, grants of patents, and correspondence with government agencies.

8.    All documents in connection with the defendant’s first distribution and sale of
      any battery charger model incorporating a spark protection system specifically
      including correspondence, memoranda, reports, emails, intra-company
      communications with respect to the design, manufacture, distribution, sale,
      and/or safety of such battery chargers, patent applications, and grants of
      patents, and correspondence with government agencies.

9.    All documents in connection with the defendant’s distribution and sale of
      subsequent battery charger models incorporating a spark protection system
      specifically including correspondence, memoranda, reports, emails, and intra-
      company communications, patent applications, grants of patents, and
      correspondence with government agencies.

10.    All advertising copy used in print advertising and/or internet advertising prior
      to November 13, 2006 in connection with the defendant’s marketing and/or
      promotion of battery chargers incorporating a spark protection system.

11.    All documents in connection with the defendant’s decision to cease
      distributing and selling the subject battery charger model specifically
      including reports, correspondence, memoranda, notices, emails, and intra-
      company communications.

12.   All documents in connection with recalls of the subject battery charger model
      including reports, correspondence, memoranda, intra-company
      communications, emails, alerts, and notices of recall.

13.    All documents in connection with the recall of any other of the defendant’s
      battery charger models specifically including but not limited to Sears DIE
      HARD battery charger bearing model number 200.71310 manufactured
      between January 1996 and February 1997 including reports, correspondence,
      memoranda, intra-company communications, emails, alerts, and notices of
      recall.
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14.    All documents including correspondence, memoranda, intra-company
      communications, emails, and reports in connection with complaints to and/or
      claims made against the defendant arising out of personal injuries or property
      damage allegedly caused by the subject battery charger model as a result of
      explosions or fires specifically including but not limited to complaint letters,
      the defendant’s responses, copies of court pleadings, written discovery, and
      deposition transcripts.

15.    All documents including correspondence, memoranda, intra-company
      communications, emails, and reports in connection with complaints to and/or
      claims made against the defendant arising out of personal injuries or property
      damage allegedly caused by any of the defendant’s other battery charger
      models as a result of explosions or fires specifically including but not limited
      to complaint letters, the defendant’s responses, copies of court pleadings,
      written discovery, and deposition transcripts.

16.   All design drawings for the subject battery charger clips.

17.   All specifications for the subject battery charger clips.

18.    All documents identifying the manufacturer of the subject battery charger
      clips.

19.   All documents identifying the supplier of the subject battery charger clips.

20.   All documents in connection with the defendant’s consideration of other clip
      designs.

21.   All documents in connection with the cost differences between the subject clip
      design and other clip designs.

22.   All documents in connection with the environments in which the subject
      battery charger was designed to be used.

23.   All documents in connection with the types of failure modes the defendant has
      noticed regarding the clips on the subject battery charger.

24.   All documents in connection with the design useful life of the subject battery
      charger.

25.   All documents in connection with the design useful life of the subject battery
      charger clips.

26.   All documents in connection to what consideration was given to the material
      of the subject battery charger clips.
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27.   All documents in connection with warnings provided to the purchaser of the
      subject battery charger about the environment in which it is used.

28.   All documents in connection with the recommended procedure for using the
      subject battery charger.

29.   All documents in connection with the types of batteries with which the subject
      battery charger is appropriate for use.

30.   All documents in connection with the subject battery charger’s rate of
      charging over time.

31.   All documents in connection with the manner in which the subject battery
      charger mitigates the production of hydrogen from lead-acid batteries at the
      end of the charging cycle.

32.   All documents in connection with the defendant’s involvement as a defendant
      in a lawsuit for a battery explosion and/or fire.

33.    The declarations pages of all insurance policies or agreements, including
      excess limits policies, providing coverage to the defendant for the plaintiffs’
      claims in this case.
